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                IN THE UNITED STATES COURT OF APPEALS
                        FOR THE TENTH CIRCUIT


  STANLEY DEWILDE,
        Plaintiff-Appellant,

               v.                                                     No. 23-8054

  UNITED STATES ATTORNEY GENERAL, et al.,
        Defendant-Appellees.


              REPLY ON MOTION FOR EXTENSION OF TIME
                TO FILE DEFENDANT-APPELLEES’ BRIEF

       Pursuant to Federal Rule of Appellate Procedure 27 and Tenth Circuit Rules

 27.6 and 31.4, the United States files this reply in support of its motion for a 45-day

 extension of the deadline for filing its response brief in this appeal to and including

 November 20, 2023. Pro se plaintiff opposes.

       1. Plaintiff’s deadline to file his opening brief was September 15, 2023.

 Plaintiff filed his brief ten days early on September 5, 2023.

       2. In light of that early filing, and in light of other pressing deadlines, the

 United States moved for an extension of time so that government counsel will have

 adequate time to prepare its response brief and coordinate with agency counsel.

 See Tenth Circuit R. 27.6(E). Both the line attorney on this matter—Ben Lewis—and

 the reviewing attorney on this matter—Abby Wright—have other deadlines that make

 it unduly burdensome to keep the existing schedule. Most notably, Ben Lewis has

 been preparing the government’s briefs in multiple other cases where the government
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 has already received extensions, as well as preparing for arguments recently scheduled

 for the near future. See Poling v. Kijakazi, No. 23-5209 (S. Ct.) (brief in opposition due

 Sept. 25, 2023, as extended); Miller v. Garland, 23-1604 (4th Cir.) (response brief

 currently due Oct. 30, 2023, as extended); Nevada Chapter of the Associated General

 Contractors of America v. Walsh, No. 22-16544 (9th Cir.) (argument scheduled for Oct. 5,

 2023); Orlandi v. Nolen, No. 22-1269 (D.C. Cir.) (argument scheduled for Oct. 12,

 2023). An extension remains necessary, and the government reiterates its request.

        3. Plaintiff argues that a 15-day extension to October 20, 2023, is adequate.

 But that deadline overlaps with Mr. Lewis’s deadlines in Nevada Chapter of the Associated

 General Contractors of America, Orlandi, and Miller, as well as Mrs. Wright’s review

 responsibilities in Orlandi, Miller, and Fried v. Garland, No. 22-13893 (11th Cir.) (oral

 argument scheduled for Oct. 5, 2023); Row 1 Inc. v HHS, No. 23-5020 (D.C. Cir.) (oral

 argument scheduled Oct. 6, 2023); Sandpiper Residents Association v. HUD, No. 22-5334

 (D.C. Cir.) (oral argument scheduled for Oct. 17, 2023); Bridgeport Hosp. v. HHS, No.

 22-5249 (D.C. Cir.) (oral argument scheduled for Oct. 27, 2023); Lillard v. Hendrix,

 Nos. 23-35049 and 23-35059 (response brief due Oct. 30, 2023).

        4. Plaintiff speculates that government counsel will further cause delay of these

 proceedings. The government assures the Court that it will prepare the brief in this

 appeal and exercise diligence in preparing the brief in the time requested.




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                                        CONCLUSION

         For the foregoing reasons, we respectfully ask that the Court extend the filing

 date for the government’s response brief by 45 days, to and including November 20,

 2023.

                                        Respectfully submitted,

                                        ABBY C. WRIGHT

                                         /s/ Ben Lewis
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                                        Attorneys
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          SEPTEMBER 2023




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                          CERTIFICATE OF COMPLIANCE

       Pursuant to Federal Rule of Appellate Procedure 32(g)(1), I hereby certify that

 this motion complies with Federal Rule of Appellate Procedure 27(d)(1)(E) because it

 was prepared with Garamond 14-point, a proportionally spaced font with serifs, and

 the motion complies with Federal Rule of Appellate Procedure 27(d)(2) because it

 contains 458 words according to the word count of Microsoft Word.

                                                /s/ Ben Lewis
                                                Ben Lewis
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                              CERTIFICATE OF SERVICE

       I hereby certify that on September 15, 2023, I electronically filed the foregoing

 with the Clerk of the Court by using the appellate CM/ECF system.

                                                 /s/ Ben Lewis
                                                 Ben Lewis
